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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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        BRANDON BOLL, DERIVATIVELY            Case No.: CV 16-5282-DMG (RAOx)
11
        AND ON BEHALF OF CAPSTONE
12      TURBINE CORP,
13                                            ORDER GRANTING
             Plaintiff,                       VOLUNTARY DISMISSAL
14                                            PURSUANT TO FED. R. CIV. P.
15           v.                               41(a) AND 23.1(c) WITH
                                              PREJUDICE [35]
16
        DARREN R. JAMISON, NOAM
17      LOTAN, GARY J. MAYO, GARY D.
18      SIMON, ELIOT G. PROTSCH,
        HOLLY A. VAN DEURSEN,
19      DARRELL J. WILK, RICHARD K.
20      ATKINSON, JOHN V. JAGGERS,
        JAYME L. BROOKS, AND EDWARD
21      I. REICH,
22
23           Defendants,

24           and
25
       CAPSTONE TURBINE CORP.,
26
27           Nominal Defendant.
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1            This Court, having considered the Request for Voluntary Dismissal
2      Pursuant to Fed. R. Civ. P. 41(a) and 23.1(c) With Prejudice (“Dismissal
3      Request”), HEREBY ORDERS as follows:
4            1.     The Dismissal Request is GRANTED. The above-captioned action,
5      Boll v. Jamison, et al., Case No. 2:16-cv-05282 (C.D.Cal.) (the “Boll Action”), is
6      dismissed with prejudice.
7            2.     Notice of the dismissal of the above-captioned action to Capstone
8
       Turbine Corp. (“Capstone”) shareholders is not required as Capstone
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       shareholders were already provided notice of the settlement of the related,
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       consolidated action, In re Capstone Turbine Corp. Stockholder Derivative
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       Litigation, Master File No. CV 16-01569-DMG (RAOx) (C.D.Cal.) (the
12
       “Consolidated Action”), which included resolution of the Boll Action and had an
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       opportunity to object to the settlement. Pursuant to the terms of the Stipulation of
14
       Settlement in the Consolidated Action, Plaintiff would seek dismissal of the Boll
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       Action with prejudice.
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       IT IS SO ORDERED.
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19     DATED: November 9, 2020         ___________________________________
                                       DOLLY M. GEE
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                                       UNITED STATES DISTRICT JUDGE
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